
David L. Lillehaug, Associate Justice
On March 21, 2019, we suspended respondent Patrick Michael Sutton from the practice of law for a minimum of 60 days. Respondent has filed an affidavit seeking reinstatement in which he states that he has complied with the terms of the suspension order, except for successful completion of the written examination required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility. The Director of the Office of Lawyers Professional Responsibility does not oppose the request for reinstatement.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED THAT:
1. Respondent Patrick Michael Sutton is conditionally reinstated to the practice of law in the State of Minnesota, subject to his successful completion of the written examination required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility.
2. By March 21, 2020, respondent shall comply with Rule 18(e)(3), Rules on Lawyers Professional Responsibility (RLPR), by filing with the Clerk of the Appellate Courts and serving upon the Director proof of respondent's successful completion of the written examination required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility. Failure to do so shall result in automatic suspension pending proof of successful completion of the examination, under Rule 18(e)(3), RLPR.
